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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          BILLINGS DIVISION

UNITED STATES OF AMERICA,                 CR-18-85-BLG-DLC

               Plaintiff,
                                          ORDER TO SEAL
vs.

LARRY WAYNE PRICE, Jr.

               Defendant.


      Defendant has filed an unopposed motion to seal the Proposed Findings and

Recommendation and Proposed Exhibits under seal. (Doc. 100). Good cause

appearing,

      IT IS HEREBY ORDERED that the Defendant’s motion is GRANTED.

Defendant Larry Wayne Price, Jr. may file his Proposed Findings and

Recommendation and Proposed Exhibits under seal.


      DATED this 2nd day of November, 2020.



                                    _______________________________
                                    Kathleen L. DeSoto
                                    United States Magistrate Judge
